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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                  4:09CR3079
                                              )
              v.                              )
                                              )
ANDREW LAMAR CAMPBELL,                        )                     ORDER
                                              )
                     Defendant.               )

       IT IS ORDERED that the motion for a substance abuse evaluation (filing 31) will be
taken up at the change of plea hearing scheduled for September 25, 2009, at 2:00 p.m. The
Pretrial Services Officer assigned to this case shall be present at that time to advise the
undersigned regarding the defendant’s motion.

       DATED this 9th day of September, 2009.

                                             BY THE COURT:

                                             Richard G. Kopf
                                             United States District Judge
